      Case 3:14-cr-02124-DMS Document 55 Filed 06/30/15 PageID.201 Page 1 of 5




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 8                     UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )   Case No.: 14cr2124-DMS
11                                       )
                           Plaintiff, ) FINDINGS AND RECOMMENDATIO
12
                                      ) OF THE MAGISTRATE JUDGE
     v.
13                                    ) UPON A PLEA OF GUILTY
     Eduardo Escobedo-Silva,             )
14
                                         )
15                                       )
16                         Defendant. )

17
          Upon Defendant's request to enter a guilty plea to
18
     Count 1 and 2 of the Indictment pursuant to Rule 11 of
19
     the Federal Rules of Criminal Procedure, this matter
20
     was referred to the Magistrate Judge by the District
21
     Judge, with the written consents of the Defendant,
22
     counsel for the Defendant, and counsel for the United
23
     States.
24
          Thereafter, the matter came on for a hearing on
25
     Defendant's guilty plea, in full compliance with Rule
26
     11, Federal Rules of Criminal Procedure, before the
27
     Magistrate Judge, in open court and on the record.
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      Case 3:14-cr-02124-DMS Document 55 Filed 06/30/15 PageID.202 Page 2 of 5




 1        In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5        I make the fo11owing FINDINGS - that the Defendant
 6   understands:
 7
          1.    The government's right, in a prosecution for
 8
                perjury or false statement, to use against the
 9

10
                defendant any statement that the defendant

11              gives under oath;
12        2.    The right to persist in a plea of "not guilty";
13        3.    The right to a speedy and public trial;
14
          4.    The right to trial by Jury, or the ability to
15
                waive that right and have a judge try the case
16

17
                without a jury;

18        5.    The right to be represented by counsel-and if
19              necessary to have the court appoint counsel-at
20
                trial and at every other stage of the
21
                proceeding;
22
          6.    The right at trial to confront and cross­
23

24              examine adverse witnesses, to be protected fro

25              compelled self-incrimination, to testify and
26              present evidence, and to compel the attendance
27
                of witnesses;
28

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     Case 3:14-cr-02124-DMS Document 55 Filed 06/30/15 PageID.203 Page 3 of 5




 1       7.    The defendant's waiver of these trial rights if
 2
               the court accepts a guilty plea or nolo
 3
               contendere;
 4
         8.    The nature of each charge to which the
 5

 6
               defendant is pleading;

 7       9.    Any maximum possible penalty, including
 8             imprisonment,      fine,       and term of supervised
 9
               release;
10
         10.   Any applicable mandatory minimum penalty;
11
         11.   Any applicable forfeiture;
12

13       12.   The court's authority to order restitution:

14       13.   The court's obligation to impose a special
15             assessment;
16
         14.   In determining a sentence, the court's
17
               obligation to calculate the applicable
18
               sentencing guideline range and to consider that
19

20             range, possible departures under the Sentencing

21             Guidelines, and other sentencing factors under
22             18 U.S.C § 3553(a);
23
         15.   The term of any plea agreement and any
24
               provision in that agreement that waives the
25
               right to appeal or to collaterally attack the
26

27             conviction and sentence; and

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      Case 3:14-cr-02124-DMS Document 55 Filed 06/30/15 PageID.204 Page 4 of 5




 1        16.   That, if convicted, a defendant who is not a
 2              United States citizen may be removed from the
 3
                United States, denied citizenship, and denied
 4
                admission to the United States in the future.
 5
      further find that:
 6

 7        17.   The defendant is competent to enter a plea;
 8
          18.   The defendant's guilty plea is made knowingly
 9
                and voluntarily, and did not result from force,
10
                threats or promises (other than those made in a
11

12
                plea agreement); and

13        19.   There is a factual basis for Defendant's plea.
14        I therefore RECOMMEND that the District Judge
15
     accept the Defendant's guilty plea to Count 1 and 2 of
16
     the Indictment.
17
          The sentencing hearing will be before United States
18

19   District Judge Dana M. Sabraw, on 9/25/2015 at 9:00am.

20   The court excludes time from 6/30/2015 through
21   9/25/2015      pursuant to 18 USC § 3161 (h) (1) (G) on the
22
     ground that the District Judge will be considering the
23
     proposed plea agreement.
24
          Objections to these Findings and Recommendations
25

26   are waived by the parties if not made within 14 days of

27   this order. If the parties waive the preparation of the
28

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     Case 3:14-cr-02124-DMS Document 55 Filed 06/30/15 PageID.205 Page 5 of 5



 1   Presentence Report, objections are due within three
 2   days of this order.
 3

 4
     Dated:   6/30/2015
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                                     80
 6
                                     United States Magistrate Judge
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     Copies to:
10   Judge Dana M. Sabraw
11
     Assistant United States Attorney
     Counsel for Defendant
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